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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

UNITED STATES OF AMERICA                )     CASE NO: 1:21-CR-48
                                        )
v.                                      )
                                        )
SAMMIE LEE SIAS                         )

           GOVERNMENT’S FIRST CERTIFICATE OF DISCLOSURE

        Now comes the United States of America, by and through David H. Estes,

Acting United States Attorney for the Southern District of Georgia, and states that

copies of discovery materials, as listed on the attached Index of Discovery (see

Exhibit A), were made available to defense counsel via hard drive on August 4,

2021.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        ACTING UNITED STATES ATTORNEY

                                        /s/ Tara M. Lyons

                                        Tara M. Lyons
                                        Assistant United States Attorney
                                        South Carolina Bar No.16573

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      Case 1:21-cr-00048-JRH-BKE Document 18 Filed 08/06/21 Page 2 of 2




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )     CASE NO: 1:21-CR-48
                                             )
v.                                           )
                                             )
SAMMIE LEE SIAS                              )

              CERTIFICATE OF SERVICE FOR GOVERNMENT’S
                  FIRST CERTIFICATE OF DISCLOSURE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 6th day of August, 2021.

                                             DAVID H. ESTES
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Tara M. Lyons

                                             Tara M. Lyons
                                             Assistant United States Attorney
                                             South Carolina Bar No. 16573

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